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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 1:21-CR-00078-EGS
               v.                            :
                                             :
JOHN EARLE SULLIVAN                          :
                                             :
                      Defendant.             :


                                  NOTICE OF DISCOVERY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court and defense that the attached discovery letter

of May 20, 2021, was provided to defense counsel in this matter.



                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             D.C. Bar Number 415793




                                     By:
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